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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 1:19-cv-23084-KMW


  OMAR SANTOS and AMANDA CLEMENTS
  on behalf of themselves and all others similarly
  situated,

         Plaintiffs,
  vs.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC d/b/a ARS ACCOUNT
  RESOLUTION SERVICES and EXPERIAN
  INFORMATION SOLUTIONS, INC.,

        Defendants
  __________________________________ /

                                      MEDIATOR’S REPORT

         In accordance with Local Rule 16.2(f)(1) of the Local Rules, the undersigned Mediator

  reports that a mediation conference was held via video conference on September 16, 2020. The

  two named Plaintiffs were not present at the initial introductory session. Inquiry was made as to

  their location, the parties were informed that the named Plaintiffs were available by telephone,

  and the introductory session proceeded without objection without the named Plaintiffs.

  Thereafter, Plaintiffs participated in the caucus with their counsel and the Mediator, and the

  matter was not settled.

                                               Respectfully Submitted,
                                               LICHTER LAW FIRM
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                                               Aventura, FL 33180
                                               (305) 356-7555

                                               By: /s/ David Lichter, Esq.
                                                   David H. Lichter, Esq.,
                                                       Mediator
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                                                                              Case No: 1:19-cv-23084-KMW


                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 17, 2020, I electronically filed the foregoing
  document with the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel of record or pro se parties identified on the attached Service List in
  the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically notices of electronic filing.

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                                                            /s/ David Lichter, Esq.
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